                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. 15-CR-31-LRR
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 WAYNE CHRISTOPHER WATKINS,            RECOMMENDATION
                                   CONCERNING DEFENDANT’S
         Defendant.                       GUILTY PLEA
                     ____________________

                      I. INTRODUCTION AND BACKGROUND
       On September 22, 2015, a two-count Superseding Indictment was filed against
Defendant, Wayne Christopher Watkins. On October 8, 2015, Defendant appeared before
United States Chief Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count
1 of the Superseding Indictment. On October 8, 2015, Judge Scoles filed a Report and
Recommendation in which he recommended that the court accept Defendant’s guilty plea.
On October 8, 2015, Defendant filed a Waiver of Objections to Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Scoles’s
recommendation to accept Defendant’s plea in this case.
                                   II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for


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review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge must determine de novo any part of the
              magistrate judge's disposition that has been properly objected
              to. The district judge may accept, reject, or modify the
              recommended disposition; receive further evidence; or return
              the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
October 8, 2015, and ACCEPTS Defendant’s plea of guilty to Count 1 of the Superseding
Indictment.
      IT IS SO ORDERED.
      DATED this 9th of October, 2015.




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